              Case 2:10-cr-00347-DAD Document 160 Filed 02/24/12 Page 1 of 1


     JOHN R. MANNING (SBN 220874)
1    ATTORNEY AT LAW
2
     1111 H Street, # 204
     Sacramento, CA. 95814
3    (916) 444-3994
     Fax (916) 447-0931
4

5
     Attorney for Defendant
     NAVPREET SINGH
6
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
7

8    UNITED STATES OF AMERICA,                         ) No. 2:10 CR 347 MCE-5
                                                       )
                                                       )
9            Plaintiff,                                )
10
                                                       ) APPLICATION AND ORDER
     v.                                                ) EXONERATING BOND
11
                                                       )
     NAVPREET SINGH,                                   )
                                                       )
12
                                                       )
             Defendant.                                )
13
                                                       )
14
                                                       )
                                                       )
15

16           On February 23, 2012, the defendant in the above captioned matter was taken into

17   custody. Defendant previously posted a $100,000.00 appearance bond secured by a deed of

18   trust. Accordingly, the surety for the defendant’s bail bond is entitled to the release of the home

19   title, and it is respectfully requested that this Court direct the Clerk of the Court to reconvey title

20   forthwith, and that the bond be exonerated.

21   DATED: February 23, 2012                        /s/ John R. Manning
                                                     Attorney for Defendant
22
                                                     Navpreet Singh
23           IT IS SO ORDERED.

24   DATED: February 23, 2012
25

26

27   Dad1:crim
     Singh0347.ord
28




                                                        1
